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            4QHH!6?IC- Damon M Lewis
            9P?PC!0?N!6K&- VA 73140
            4GNI!6?IC- DLA Piper LLP (US)
            /BBNCOO- 500 Eighth Street NW
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            3I?GH- damon.lewis@dlapiper.com
                  #!&(02+)+&$2(!.)!&.-)(0(-&(!'.(1!-.2!-(('!2.!%(!)+,('!4+2*!2*+1!3-.//.1('!$//,+&$2+.-"
